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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY

  ASSOCIATION OF NEW JERSEY                 )
  RIFLE & PISTOL CLUBS, INC.,               )
  et al.,                                   )
                                                Hon. Peter G. Sheridan, U.S.D.J.
                 Plaintiffs,                )
                                                Hon. Lois H. Goodman, U.S.M.J.
          v.                                )
                                                 Civil Action No. 18-cv-10507
                                            )
  GURBIR GREWAL, et al.,                    )
                                            )
                    Defendants.                           CIVIL ACTION
                                            )
                                            )
                                                 (ELECTRONICALLY FILED)
                                            )
                                            )
                                            )


    PLAINTIFFS’ BRIEF IN SUPPORT OF THEIR CROSS-MOTION FOR
       SUMMARY JUDGMENT AND CROSS-MOTION FOR A STAY


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       In 2010, the Supreme Court held that the individual right to keep and bear

 arms recognized in District of Columbia v. Heller, 554 U.S. 570 (2008), applied to

 the States. McDonald v. City of Chicago, 561 U.S. 742, 791 (2010). In the near-

 decade since then, the Supreme Court has remained almost entirely silent about the

 proper analysis to be applied in Second Amendment cases. That silence has led to a

 mass of confusion among the lower federal courts. Some judges have employed a

 common-use test to determine the Amendment’s scope, see, e.g., Heller v. District

 of Columbia (Heller II), 670 F.3d 1244, 1260–61 (D.C. Cir. 2011), while others have

 not, see, e.g., Kolbe v. Hogan, 849 F.3d 114, 141–44 (4th Cir. 2017). Some judges

 have subjected arms regulations to a tiers-of-scrutiny analysis, Kachalsky v. County

 of Westchester, 701 F.3d 81, 93–101 (2d Cir. 2012), while others have not, see, e.g.,

 Heller II, 670 F.3d at 1271–85(Kavanaugh, J., dissenting). And some judges have

 closely scrutinized the justifications and evidence offered in support of arms

 regulations, see, e.g., Association of New Jersey Rifle & Pistol Clubs, Inc. (ANJRPC)

 v. Attorney Gen. New Jersey, 910 F.3d 106, 130–34 (3d Cir. 2018) (Bibas, J.,

 dissenting), while others have not, see, e.g. id. at 117–23 (majority opinion). In short,

 the Supreme Court’s refusal to reenter this arena has led to uncertainty about both

 the proper analysis and results in Second Amendment cases, including in the context

 of magazine bans.




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       The Supreme Court’s silence is about to end. On January 22, 2019, the Court

 granted certiorari in New York State Rifle & Pistol Association, Inc. (NYSRPA) v.

 City of New York, a petition challenging the constitutionality of a New York City

 firearm regulation under the Second Amendment. No. 18-280, 2019 WL 271961, at

 *1 (U.S. Jan. 22, 2019). After years of turning aside requests that it provide further

 instruction to lower courts, the Supreme Court has finally agreed to do so. NYSRPA

 thus promises to give this Court and the Third Circuit much-needed guidance about

 how to analyze New Jersey’s magazine ban.

       Yet, Defendants urge this Court to ignore the Supreme Court’s forthcoming

 guidance. Instead, the State would have this Court enter final judgment now,

 disregarding the binding precedent that NYSRPA promises to deliver. There is no

 reason for this premature action, which will only force the parties to waste time

 litigating this case up to the Supreme Court with the likely result of a remand back

 to this Court in light of NYSRPA. Defendants will suffer no prejudice whatsoever

 from awaiting the Supreme Court’s decision in NYSRPA, and both this Court and the

 parties will save valuable time and resources. This Court should grant Plaintiffs’

 motion to stay all proceedings, including adjudication of the pending motions for

 summary judgment, until the Supreme Court issues its decision in NYSRPA.




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                                  BACKGROUND

       On June 13, 2018, the Governor of New Jersey signed into law Act A2761,

 “which makes it unlawful for any person in New Jersey, with certain exceptions, to

 possess any firearm magazines that are capable of holding more than ten rounds of

 ammunition.” Association of New Jersey Rifle & Pistol Clubs, Inc. (ANJRPC) v.

 Grewal, 2018 WL 4688345, at *1 (D.N.J. Sept. 28, 2018) (footnote omitted). That

 same day, Plaintiffs filed a complaint in this Court arguing that the State’s magazine

 ban violated the Second, Fifth, and Fourteenth Amendments to the U.S. Constitution.

 Id. at *2. Plaintiffs moved for a preliminary injunction eight days later, Notice of

 Mot. for a Prelim. Inj. (June 21, 2018), Doc. 7, and this Court ordered that an

 evidentiary hearing take place on August 13, 16, and 17, Order (July 13, 2018), Doc.

 47. Following post-hearing briefing and oral argument, this Court issued its decision

 on September 28 denying Plaintiffs’ motion for a preliminary injunction and their

 motion for an injunction pending appeal. ANJRPC, 2018 WL 4688345, at *16.

       Plaintiffs immediately appealed to the Third Circuit. Following briefing and

 oral argument, the Third Circuit issued a decision on December 5, 2018, affirming

 this Court’s denial of preliminary injunctive relief, over the dissent of Judge Bibas.

 ANJRPC, 910 F.3d at 126. Plaintiffs subsequently moved for rehearing en banc, and

 the Third Circuit denied Plaintiffs’ motion on January 9, 2019. On January 22, 2019,

 the Supreme Court granted review in NYSRPA. See 2019 WL 271961, at *1.


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                                    ARGUMENT

 I.    This Court Should Stay All Proceedings Pending the
       Supreme Court’s Forthcoming Second Amendment Decision.

       “[T]he power to stay proceedings is incidental to the power inherent in every

 court to control the disposition of the causes on its docket with economy of time and

 effort for itself, for counsel, and for litigants.” Landis v. North American Co., 299

 U.S. 248, 254 (1936); see also Clinton v. Jones, 520 U.S. 681, 706 (1997). “[T]he

 individual may be required to submit to delay not immoderate in extent and not

 oppressive in its consequences if the public welfare or convenience will thereby be

 promoted.” Landis, 299 U.S. at 256. In adjudicating a stay motion, courts typically

 consider several factors, including:

       whether a stay would unduly prejudice or present a clear tactical
       disadvantage to the non-moving party; (2) whether denial of the stay
       would create a clear case of hardship or inequity for the moving party;
       (3) whether a stay would simplify the issues and the trial of the case;
       and (4) whether discovery is complete and/or a trial date has been set.

 Mastec Renewables Constr. Co., Inc. v. Mercer Cty. Improvement Auth., 2017 WL

 6493141, at *3 (D.N.J. Dec. 19, 2017).

       These traditional considerations overwhelmingly favor a stay here. First, a

 stay would not prejudice Defendants in any way. Because the Third Circuit affirmed

 this Court’s denial of a preliminary injunction, Act A2761 is now—and will continue

 to be—in effect throughout the period of a stay. Those New Jersey citizens who

 possessed standard-capacity magazines prior to the enactment of Act A2761 have
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 already had to exercise one of the three options provided to them in the statute to

 ensure compliance with the magazine ban: (1) surrender their SCMs to the

 government, N.J. STAT. ANN. § 2C:39-19(c); (2) transfer their SCMs to “any person

 or firm lawfully entitled to own or possess that firearm or magazine,” N.J. STAT.

 ANN. § 2C:39-19(a); or (3) “[r]ender the . . . magazine inoperable” or permanently

 alter it to accept 10 rounds or fewer, N.J. STAT. ANN. § 2C:39-19(b). Because the

 State will be able to continue enforcing its ban while a stay is in effect, the stay will

 have no effect on Defendants’ asserted interests.

       The State might respond by arguing that a stay will prevent it from having

 certainty that its law is constitutional, but that argument holds no water. Even if this

 litigation were somehow to end today, that would not prevent a future plaintiff from

 challenging New Jersey’s magazine ban in light of the new Second Amendment

 precedent that will be established by the Supreme Court’s forthcoming decision in

 NYSRPA. In other words, the constitutionality of New Jersey’s magazine ban cannot

 be resolved before the Supreme Court issues its decision in NYSRPA, so the State

 will not gain any certainty about the constitutional status of its ban by obtaining a

 final judgment in this case now. Defendants therefore lose nothing from a stay.

       Second, a stay is the most efficient and simplest next step in this litigation

 because it is likely that the Supreme Court’s decision in NYSRPA will affect the

 analysis governing Plaintiffs’ Second Amendment claims, and it therefore makes


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  sense to await the NYSRPA decision before proceeding with this case. Petitioner in

  NYSRPA has expressly called on the Supreme Court to provide “clarification of the

  proper analysis” to apply in Second Amendment cases because “there is no context

  in which this kind of [clarification] is more essential.” Reply Brief for Petitioners,

  New York State Rifle & Pistol Ass’n, Inc. v. City of New York, 2018 WL 6242386, at

  *9, *8 (U.S. Nov. 28, 2018). This call for clarity comes after several Justices have

  issued separate opinions expressing frustration with the way in which lower courts

  have applied Heller and McDonald. See, e.g., Peruta v. California, 137 S. Ct. 1995,

  1999 (2017) (Thomas, J., joined by Gorsuch, J., dissenting from the denial of

  certiorari); Caetano v. Massachusetts, 136 S. Ct. 1027, 1033 (2016) (Alito, J., joined

  by Thomas, J., concurring in the judgment); Jackson v. City & Cty. of San Francisco,

  135 S. Ct. 2799, 2801–02 (2015) (Thomas, J., joined by Scalia, J., dissenting from

  the denial of certiorari); Heller II, 670 F.3d at 1271–85 (Kavanaugh, J., dissenting).

  NYSRPA is therefore likely to produce an important clarification of Second

  Amendment doctrine.

        Moreover, there is a very good chance that such a clarification will adopt

  arguments that Plaintiffs have been making in this litigation. Petitioner in NYSRPA

  has argued that the lower federal courts have issued decisions “diluting heightened

  scrutiny in the Second Amendment context beyond all recognition.” Petition for Writ

  of Certiorari, New York State Rifle & Pistol Ass’n v. City of New York, 2018 WL


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  4275878, at *21–22 (U.S. Sept. 4, 2018) (“NYSRPA Cert. Pet.”). That is precisely

  the criticism that Plaintiffs have levelled against the Third Circuit’s opinion in this

  case. See Plaintiffs-Appellants’ Petition for Rehearing En Banc, Association of New

  Jersey Rifle & Pistol Clubs, Inc. v. Attorney Gen. New Jersey, No. 18-3170 at 6–9

  (3d Cir. Dec. 19, 2018) (“Reh’g Pet.”). Petitioner in NYSRPA has argued that the

  decisions of lower courts are “utterly inconsistent with this Court’s insistence in

  McDonald that the Second Amendment is not a second-class right.” NYSRPA Cert.

  Pet. at 25; see also id. at 17. Again, that is how Plaintiffs have characterized the

  Third Circuit’s opinion here. See, e.g., Reh’g Pet. at 1–2. Finally, and perhaps most

  importantly, Justice Kavanaugh has previously argued that Heller and McDonald

  forbid the use of a tiers-of-scrutiny approach and instead require an analysis based

  on text and history. See Heller II, 670 F.3d at 1271–85 (Kavanaugh, J., dissenting).

  Again, that is what Plaintiffs have urged in this litigation. See Reh’g Pet. at 13–16.

  If the Supreme Court were to agree with any of the foregoing points, it would, at a

  minimum, significantly change the Second Amendment analysis governing this

  case. Indeed, because Defendants cannot carry their burden under traditional

  intermediate scrutiny or under a text-and-history approach, see Reh’g Pet. at 9–11,

  13–16, the Supreme Court’s adoption of either test would resolve this case in

  Plaintiffs’ favor.




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        The possibility that a forthcoming judicial decision will affect the analysis in

  a pending case—and perhaps even resolve it—is a well-established reason for

  granting a stay. See, e.g., International Refugee Assistance Project v. Trump, 323 F.

  Supp. 3d 726, 732 (D. Md. 2018). This stems from the “general principle” that

  “duplicative litigation in the federal court system is to be avoided,” and if a

  forthcoming decision could affect a case, it makes little sense to proceed and be

  forced to redo the analysis after the decision is issued. Remington Rand Corp.-

  Delaware v. Business Sys. Inc., 830 F.2d 1274, 1275–76 (3d Cir. 1987). In Landis,

  for instance, the Supreme Court observed that, where a future judicial decision “may

  not settle every question of fact and law” “but in all likelihood . . . will settle many

  and simplify them all,” there was a good argument for a stay. 299 U.S. at 256.

  Similarly, in Bechtel Corp. v. Local 215, Laborers’ International Union of North

  America, AFL-CIO, the Third Circuit affirmed a stay because a pending arbitration

  might have eliminated one of the claims at issue, and although it was uncertain

  “whether this w[ould] in fact occur,” “the possibility [wa]s sufficient justification to

  warrant the stay.” 544 F.2d 1207, 1215 (3d Cir. 1976) (emphasis added). That same

  logic has led this Court to stay proceedings in light of pending Supreme Court cases

  numerous times, see, e.g., In re Michaels Stores, Inc., 2016 WL 947150, at *4

  (D.N.J. Mar. 14, 2016); Takacs v. Middlesex Cty., 2011 WL 1375682, at *3 (D.N.J.

  Apr. 12, 2011), and that same logic supports a stay here.


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        Indeed, failing to grant a stay is likely to simply waste this Court’s and the

  parties’ time and resources. If this Court were to grant summary judgment in the

  near future, the losing party would likely appeal to the Third Circuit, and if the Third

  Circuit were to affirm, the losing party would likely seek review from the Supreme

  Court. It is highly improbable that the Supreme Court would simply deny a petition

  in this case while NYSRPA remained pending. Rather, at the very least, the Court

  would likely hold the petition and then grant, vacate, and remand the case in light of

  NYSRPA. Thus, if this Court refuses to stay proceedings, it is very likely that the

  parties and this Court will be right back where we are now in a little over a year’s

  time, after the Supreme Court issues its decision in NYSRPA. The most efficient

  course, therefore, is to simply stay proceedings and await the outcome of NYSRPA.

        This Court would not be the first to do so. Shortly after the Supreme Court

  granted certiorari in NYSRPA, the Ninth Circuit issued an order staying en banc

  proceedings in Young v. State of Hawaii, No. 12-17808 (9th Cir. Feb. 14, 2019),

  Doc. 209, a case relating to the carrying of firearms outside the home. This Court

  should adopt the same commonsense approach as the Ninth Circuit and stay

  proceedings until the Supreme Court issues its decision in NYSRPA.

        Third, failure to stay proceedings would prejudice Plaintiffs precisely because

  it would waste party resources. By entering judgment now, this Court would ensure

  that the parties spend the next year litigating this case up through the Third Circuit


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  and to the Supreme Court—only to likely end up back in this Court on remand after

  the Supreme Court issues its decision in NYSRPA. That pointless exercise could be

  avoided by simply awaiting the Supreme Court’s guidance in NYSRPA.

        Finally, the stage of proceedings supports a stay. The parties are not on the

  brink of trial or some long-awaited event. Rather, the conclusion of preliminary-

  injunction proceedings is a natural place to pause this litigation, receive further

  guidance from the Supreme Court, and then either proceed with further discovery or

  with motions for summary judgment. One phase of this case is over, and another is

  about to begin. There is no reason to begin before knowing what the Supreme Court

  will say in NYSRPA.

  II.   This Court Should Stay Adjudication of the
        Pending Motions for Summary Judgment.

        For the foregoing reasons, even assuming that Defendants’ arguments

  regarding the precedential and law-of-the-case effects of the Third Circuit’s decision

  are correct, Plaintiffs oppose Defendants’ motions for summary judgment. Rather

  than prematurely entering judgment before the Supreme Court decides NYSRPA, this

  Court should stay the adjudication of Defendants’ motions and Plaintiffs’ cross-

  motion for summary judgment.1



        1
         Plaintiffs concede that, in light of this Court’s previous opinion in this case
  based on the same record, this Court cannot grant summary judgment in their favor.
  We nonetheless protectively move for summary judgment to ensure that there is no
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         If the Supreme Court’s analysis in NYSRPA turns out to be inconsistent with

  the Third Circuit’s analysis in this case, the Third Circuit’s opinion would be

  abrogated, and the State could no longer maintain that the opinion bound this Court.

  See Grant Heilman Photography, Inc. v. John Wiley & Sons, Inc., 864 F. Supp. 2d

  316, 326 (E.D. Pa. 2012) (Third Circuit precedent abrogated in light of intervening

  Supreme Court precedent); Chester ex rel. NLRB v. Grane Healthcare Co., 797 F.

  Supp. 2d 543, 551 (W.D. Pa. 2011) (same), aff’d in part, remanded in part, 666 F.3d

  87 (3d Cir. 2011) (disagreeing that its precedent had been abrogated but not

  questioning district court’s authority to hold otherwise). That is because “a change

  [by the Supreme Court] in the legal test or standard governing a particular area is a

  change binding on lower courts that makes results reached under a repudiated legal

  standard no longer binding.” Sheet Metal Workers Int'l Ass'n, Local Union No. 19 v.

  United States Dep’t of Veterans Affairs, 135 F.3d 891, 902 (3d Cir. 1998) (alteration

  in original).

         Similarly, “[a]n exception to normal law of the case and waiver rules is

  recognized when an intervening decision from a superior court changes the

  controlling law.” Beazer E., Inc. v. Mead Corp., 525 F.3d 255, 263 (3d Cir. 2008);

  see also 18B CHARLES A. WRIGHT AND ARTHUR R. MILLER, FED. PRAC. & PROC.



  obstacle to this Court or a higher court entering judgment in Plaintiffs’ favor in
  subsequent proceedings.

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  JURIS. § 4478 (2d ed.). For example, in Zichy v. City of Philadelphia, the Third

  Circuit held that it was not bound by an earlier panel opinion because an intervening

  Supreme Court opinion had changed governing law. 590 F.2d 503, 508 (3d Cir.

  1979); see also Council of Alt. Political Parties v. Hooks, 179 F.3d 64, 69 (3d Cir.

  1999) (Alito, J.) (panel was not bound by prior panel’s preliminary injunction

  decision due to change in governing law). Thus, it makes no sense to enter judgment

  now, even assuming that Defendants’ arguments in favor of summary judgment are

  correct, since the Supreme Court’s intervening decision in NYSRPA will likely

  abrogate the Third Circuit’s analysis and force this Court to re-adjudicate the parties’

  summary judgment motions in the future.

                                     CONCLUSION

        Plaintiffs respectfully request that this Court enter an order staying all

  proceedings, including the adjudication of the pending motions for summary

  judgment, until the Supreme Court issues its decision in NYSRPA.




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  Dated: March 18, 2019                       Respectfully submitted,

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